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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------x
                                                               :
UNITED STATES OF AMERICA                                       :
                                                               :
                  -v.-                                         :     19 Cr. 366 (LGS)
                                                               :
STEPHEN M. CALK,                                               :
                                                               :
                                    Defendant.                 :
                                                               :
---------------------------------------------------------------x



                      MEMORANDUM OF LAW IN OPPOSITION TO THE
                          DEFENDANT’S MOTIONS IN LIMINE




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                                        INTRODUCTION

       The key issue in this case is whether the defendant corruptly solicited a bribe from Paul

Manafort, intending to be influenced in his approval of $16 million in loans to Manafort. The

Government is not remotely interested in transforming this trial into a debate about “best

practices in underwriting.” (Def. Mem. 1). The Government bears the burden, however, of

proving that the defendant acted “corruptly,” and the Government therefore is entitled to put on

evidence of, among other things, what the defendant’s duties were in order to show that he

corruptly breached them. Such evidence is standard in bribery cases, including bank bribery

cases under 18 U.S.C. § 215, unlike the inapposite cases cited by the defendant. As detailed

herein, the Government intends to limit this evidence considerably, precisely so as to avoid

turing the trial into a debate about “best underwriting practices.”

       However, in the event that the defendant tries to turn this trial into a referendum on the

quality of the loans, for example by falsely suggesting to the jury that the loans were sound (or

that he believed them to be sound), or by misleadingly suggesting to the jury that he followed

proper or standard procedures in causing The Federal Savings Bank (the “Bank”) to approve the

loans, the Government would then—and only then—offer expert testimony or more detailed

testimony from two fact witnesses from the Office of the Comptroller of the Currency (“OCC”)

necessary to rebut such false claims. The defendant’s objections to this plainly relevant and

helpful testimony are grounded in misapprehension of the anticipated testimony or based on

wholly inapposite case law, and should be rejected.

       To begin with, while the Government provided broad expert notice in an abundance of

caution and in order to enable the defense to prepare their case, the Government is prepared to

offer testimony that is significantly more narrow than the opinions described in its expert notices,
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as described below. In particular, the Government will not elicit any expert testimony that

addresses the specific facts of this case or that opines as to whether the defendant or the Bank

violated applicable duties—unless the defendant opens the door to such testimony by offering

evidence or argument that the loans were sound or that the defendant believed them to be sound.

       As narrowed, the Government thus anticipates eliciting the following:

       First, Joseph Belanger, a veteran in bank lending whose qualifications as an expert are

unchallenged, will educate the jury as to the duties (including fiduciary duties) owed by a bank

chairman/CEO in the defendant’s position, pursuant to regulatory standards and industry

practice. Belanger will not address the facts of this case, and will not opine as to whether the

defendant violated any of his duties, but rather will testify only in general terms (unless, as

noted, the defendant opens the door to more fact-specific testimony). This testimony is relevant

and admissible because expert testimony on regulatory standards, industry practice, and fiduciary

duties is routinely admitted where, as here, it bears on the defendant’s mental state. Simply put,

the Government bears the burden of proving that the defendant acted corruptly, and the

Government therefore is entitled to put on evidence regarding the duties that the defendant owed,

so that the jury can evaluate the extent to which, if at all, he breached those duties in connection

with his approval of the Manafort loans.

       Second, Blake Paulson, a senior OCC official, will be called at the outset of the trial, as a

fact witness, who will testify to an important interaction with the defendant and also to provide

necessary context and set the stage for other evidence. 1 While Paulson will describe his job



1
 Although the Government provided advance notice of Paulson’s testimony to facilitate the
defendant’s ability to prepare for trial and so that the defendant could make a motion such as the

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responsibilities, including his work at the OCC, the OCC’s regulatory framework and certain

basic banking concepts relevant to the OCC’s work and that will arise throughout the trial, he

will not be asked to apply that framework or those concepts to the facts of this case.

Nonetheless, this sort of background testimony is routinely and properly elicited through

knowledgable fact witnesses and is critical so that the jury has a basic framework for

understanding the complex issues in the case.

       Third, Catherine Aguirre, the OCC examiner assigned to the Bank, will testify as a fact

witness regarding her routine examination of the Bank in 2017—but she will only testify if the

defense opens the door, that is, if she is needed to rebut misleading evidence or arguments the

defense may make about the quality of the Manafort loans. In particular, the Government does

not currently intend to call her unless the defendant opens the door by offering evidence or

argument falsely suggestng that the loans to Manafort were in fact sound or advantageous (or

that the defendant believed them to be) or that the Bank followed proper procedures in extending

them. If the defendant does so open the door, the Government is entitled to correct that false

impression for the jury by calling Aguirre to rebut these claims. Aguirre will do so by describing

her analysis—performed several months after the loans were extended and in the ordinary course

of her duties as a bank examiner—and her conclusion that, as of the time the loans were

originated, based on information known to the Bank at that time, Manafort had insufficient

income to service the loans, and that the Bank’s procedures for approving the loan were flawed.

While the defendant tries to characterize this evidence as unrelated to his intent (Def. Mem. 22),




instant one well in advance of trial, Paulson is a fact witness and will not offer any expert
testimony.
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the opposite is true. The Government has ample evidence it will present prior to calling Aguirre

that the defendant was aware of serious reasons to doubt Manafort’s access to reliable income—

the very flaw that Aguirre relied upon in her analysis.

       And fourth, Jeffrey McCutcheon will provide expert testimony that is narrowly tailored

to proving an essential element of the crime: that the “thing of value” solicited by the defendant

exceeded $1,000. 2 McCutcheon will draw on his many years of experience in the human

resources and executive compensation fields to offer his expert opinion regarding the potential

monetary value of an appointment to a presidential campaign advisory post and an appointment

to an executive branch position—positions that the defendant solicited Manafort’s assistance in

obtaining. Although the defendant complains that the “thing of value” is Manafort’s assistance,

not the positions themselves, expert testimony regarding the value of the positions will enable

the jury to draw inferences regarding the value of Manafort’s assistance.

                                        BACKGROUND

       This case concerns the defendant’s corrupt abuse of his position as then-CEO and

Chairman of the Bank, a federally-insured savings association, and its holding company National

Bancorp Holdings, Inc. (the “Holding Company”), to solicit personal benefits for himself in

exchange for approving millions of dollars in loans from the Bank and the Holding Company. In

particular, from approximately July 2016 to approximately January 2017, the defendant worked

to extend $16 million in financing to Paul Manafort—a political consultant who for a portion of

this time period was chairman of the Donald J. Trump 2016 presidential campaign and who, after



2
  The defendant can obviate the need for McCutcheon’s testimony by agreeing to an appropriate
stipulation that the “thing of value” was worth more than $1,000.
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formally leaving the campaign, remained influential with the campaign and, later, presidential

transition team—in exchange for Manafort’s assistance with the defendant’s efforts to secure

prestigious high-level positions on the campaign and in the administration. Manafort appointed

the defendant to the Trump campaign’s economic advisory committee and ultimately arranged

for the defendant to be interviewed by the presidential transition team for a position in the

administration, specifically, Under Secretary of the Army.

       Meanwhile, the defendant was closely and personally involved in causing the Bank to

extend the $16 million in loans during the exact time period that he was soliciting Manafort’s

assistance. The defendant caused the Bank to approve the loans despite significant red flags

regarding Manafort’s ability to repay them, such as his history of defaulting on prior loans,

looming foreclosure auctions, and uncertain cash flow. While the defendant did not personally

conduct detailed analysis showing that Manafort was unable to pay his loans and may not have

been made aware of all of the specific negative information that his employees learned of, the

evidence will establish that defendant did know and was aware of significant risk factors—

including Manafort’s history of defaults and looming foreclosure actions—regarding the loans,

which represented the largest loan relationship at the Bank. The defendant also used his position

as Chairman of the Holding Company to cause the Holding Company to purchase a portion of

the Manafort loans from the Bank, an unusual maneuver allowing the Bank to extend loans that

would have otherwise exceeded its statutory lending limit to a single borrower. The Manafort

loans ultimately ended in default following Manafort’s arrest, and the Bank sustained a

multimillion dollar loss which it is currently attempting to recoup.




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                                          ARGUMENT

  I.   JOSEPH BELANGER’S EXPERT TESTIMONY SHOULD BE ADMITTED
       BECAUSE EVIDENCE OF A BREACH-OF-DUTY IS CORE TO AN
       EVALUATION OF WHETHER THE DEFENDANT ACTED “CORRUPTLY”

       As set forth below, the Government proposes to call Joseph Belanger as an expert to

provide narrow testimony regarding the duties owed by a bank director/CEO in the defendant’s

position under regulatory standards and industry practice. This testimony will be general in

nature, focused on the applicable duties without addressing the specific facts of this case.

Because the jury must determine whether the defendant acted “corruptly” under Title 18, United

States Code, Section 215, and because evidence of a breach of duty is highly relevant to that

determination, Belanger’s testimony will be immensely helpful in educating the jury as to the

nature and scope of the defendant’s duties, so that the jury can evaluate the extent to which, if at

all, the defendant breached those duties. Indeed, expert testimony on regulatory standards,

industry practice, and fiduciary duties is routinely admitted under these circumstances, where the

evidence bears on the defendant’s mental state, and the cases cited by the defendant in response

are plainly inapposite and easily distinguishable. Belanger’s testimony will neither invade the

province of the jury nor be unfairly prejudicial because Belanger will not address the specific

facts of this case—and will not offer any opinion as to whether the defendant in fact violated his

duties—unless the defendant opens the door to such testimony.

       A.      The Government’s Proffered Expert Testimony

       On June 1, 2020, the Government provided the defendant with expert notice describing

Belanger’s qualifications, his analysis of the $9.5 million and $6.5 million loans extended by the

Bank to Manafort, and the opinions he formed based on his analysis. (See Dkt. 125 Ex. 1 and

Ex. A attached thereto (“Belanger Rep.”)). The Government previously summarized Belanger’s
                                                  6
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opinions in its memorandum of law in support of its motions in limine. (See Dkt. 125 at 5-6).

       Upon further consideration, and as noted above, the Government is prepared not to offer

all of the testimony set forth in Belanger’s expert notice in its case-in-chief. Rather, the

Government will offer, through Belanger, expert testimony that is narrower and more

circumscribed, focused on educating the jury as to the duties owed by a bank director/CEO in the

defendant’s position under regulatory standards and industry practice, without addressing the

particular facts of this case (or offering any opinion as to whether the defendant violated

applicable duties) unless the defendant opens the door to such testimony.

       Specifically, the Government intends to offer testimony at trial from Belanger covering

the following topics, in sum:

           •   The fiduciary “duty of care” owed by a bank director/CEO serving on the bank’s
               loan committee—as reflected in regulatory standards and industry practice—to
               undertake an informed review of a loan under consideration, including evaluating
               pertinent creditworthiness factors (such as collateral, the borrower’s income and
               financial condition, the reliability of the borrower’s financial documentation, the
               borrower’s background and profile, and the borrower’s capability to engage in the
               intended use of funds). (See Belanger Rep. 19-23).

           •   The duties of a bank director/CEO involved in lending, based on regulatory
               standards and industry practice, to scrutinize proposed real estate development
               loans, including by evaluating the borrower’s background and reputation as a
               developer. (See Belanger Rep. 24).

           •   The duties of a bank director/CEO involved in lending, based on regulatory
               standards and industry practice, to analyze a prospective borrower’s ability to repay
               a loan (e.g., based on demonstrated cash flow) and willingness to repay a loan (e.g.,
               based on a track record of repaying debts when due). (See Belanger Rep. 24).

           •   The duty of a bank CEO, based on regulatory standards and industry practice, to
               effectively manage risk, implement a strong risk culture and comply with laws,
               regulations, and internal bank policies. (See Belanger Rep. 27).

           •   The fiduciary “duty of loyalty” owed by a bank director/CEO—as reflected in
               regulatory standards and industry practice—to engage in conduct that is free from
               conflicts, including acting in the best interest of the bank and not engaging in
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                official bank conduct that will directly or indirectly benefit them personally. (See
                Belanger Rep. 27-28).

            •   The duty of a bank holding company director, based on regulatory standards and
                industry practice, to maintain the holding company as a source of financial strength
                for the subsidiary bank. (See Belanger Rep. 18-19).

        As to each of the above-referenced topics, the Government intends to elicit testimony

regarding the nature, scope, and basis of the applicable duties as a general matter, but will not—

except as described below—elicit testimony concerning the facts of this particular case,

including any testimony about whether the defendant breached duties that he owed. 3 However:

            •   If the defendant offers evidence (for example, through Calk’s testimony) or
                argument suggesting that he in fact complied with the above-described duties, the
                Government reserves the right to call Belanger to rebut such evidence.

            •   If the defendant suggests—through questioning, evidence or argument—that the
                Manafort loans were “good” for the Bank (i.e., that they were high-quality loans,
                that they were well-collateralized, or that they were otherwise consistent with
                industry standards), or that it was reasonable for a prudent banker in the defendant’s
                position to believe that they were good for the Bank, the Government reserves the
                right to call Belanger to rebut such evidence or argument.

        In sum, the Government intends to call Belanger (i) to educate the jury as to the duties

owed by a bank director/CEO in the defendant’s position under regulatory standards and industry

practice (without addressing the particular facts of this case), (ii) if applicable, to rebut any

evidence offered by the defendant suggesting that he in fact complied with his duties in relation

to the Manafort loans, and (iii) if applicable, to rebut any evidence or argument by the defendant

suggesting that the Manafort loans were high-quality or consistent with industry standards, or



3
 In order to ensure that the testimony is sufficiently concrete as to be helpful to the jury, the
Government may pose certain questions in hypothetical form, but will be careful to avoid posing
questions that assume the truth of facts that the defendant disputes. To the extent possible, the
Government will preview these hypothetical questions with defense counsel so that any dispute
may be raised with the Court in advance of Belanger’s testimony.
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that it was reasonable for a banker in the defendant’s position to believe them to be so.

       B.      Applicable Law

               1.      Evidence of Breach-of-Duty to Prove That a Defendant Acted
                       “Corruptly”

       Section 215 makes it a crime for any “officer, director, employee, agent, or attorney of a

financial institution” to “corruptly solicit[] or demand[] for the benefit of any person, or

corruptly accept[] or agree[] to accept, anything of value from any person, intending to be

influenced or rewarded in connection with any business or transaction of such institution.” 18

U.S.C. § 215(a)(2). “When a statute uses the word ‘corruptly,’ the government must prove more

than the general intent necessary for most crimes. It must prove that a defendant acted ‘with the

bad purpose of accomplishing either an unlawful end or result, or a lawful end or result by some

unlawful method or means.’” United States v. Ng Lap Seng, 934 F.3d 110, 142 (2d Cir. 2019)

(quoting United States v. McElroy, 910 F.2d 1016, 1021-22 (2d Cir. 1990)), cert. denied, No. 19-

1145, 2020 WL 3492669 (U.S. June 29, 2020); see also id. (“‘[c]orrupt’ and ‘corruptly’ are

normally associated with wrongful, immoral, depraved, or evil” intent (citing Arthur Andersen

LLP v. United States, 544 U.S. 696, 705 (2005)).

       As the Second Circuit made clear in Ng Lap Seng, although “the ‘corruptly’ element of

bribery does not invariably require . . . a breach of duty,” evidence of such a breach is highly

relevant in many cases. Ng Lap Seng, 934 F.3d at 143; see id. at 144 n.33 (the “common thread

that runs through common law and statutory formulations of the crime of bribery is the element

of corruption, breach of trust, or violation of duty” (internal quotation marks omitted)). Indeed,

“a fundamental component of a ‘corrupt’ act [by a public official] is a breach of some official

duty owed to the government or the public at large.” United States v. Rooney, 37 F.3d 847, 852

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(2d Cir. 1994); see also id. (“‘[B]ribery in essence is an attempt to influence another to disregard

his duty while continuing to appear devoted to it or to repay trust with disloyalty.” (quoting

United States ex rel. Sollazzo v. Esperdy, 285 F.2d 341 (2d Cir. 1961))); United States v. Bonito,

57 F.3d 167, 171 (2d Cir. 1995) (“A person acts corruptly, for example, when he gives or offers

to give something of value intending to influence or reward a government agent in connection

with his official duties.”); cf. United States v. Skelos, 707 F. App’x 733, 740 (2d Cir. 2017) (in

bribery case, upholding admission of evidence of New York State ethics rules applicable to

defendant in his capacity as a state senator).

       In the context of Section 215—where the alleged bribery involves a bank official rather

than a public official—evidence of a breach of duty is equally pertinent. 4 Thus, in determining

whether a bank official acted corruptly—i.e., with a “bad purpose,” intending to achieve “an

unlawful end or result” or “a lawful end or result by some unlawful method or means,” McElroy,

910 F.2d at 1021—it is highly relevant for the jury to consider whether the official breached

duties he owed the Bank under regulatory standards, industry practice, fiduciary obligations, or

Bank policy. See, e.g., United States v. Murgio, 209 F. Supp. 3d 698, 718-20 (S.D.N.Y.

2016) (indictment sufficiently alleged that defendant acted “corruptly” in violation of Section

215 because it alleged that he “intentionally took actions that violated the duties he owed in his

capacity as Chairman of the Board of [a financial institution],” and noting that Government

expected also to introduce evidence that defendant violated pertinent regulations); United States



4
  Section 215 uses the same statutory term—“corruptly”—as other bribery offenses, and the
Second Circuit interprets the term consistently across statutes. See Ng Lap Seng, 934 F.3d at 142
(citing McElroy’s definition of “corruptly” under Section 215 to interpret the term in two other
bribery statutes, holding it applies “[w]hen a statute uses the word ‘corruptly’”).
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v. Gross, 15 Cr. 769 (AJN), 2017 WL 4685111, at *10, *33 (S.D.N.Y. Oct. 18, 2017) (evidence

at trial—which was sufficient to convict defendant federal credit union official under Section

215—included evidence that defendant “made no effort to comply with various regulations

governing how credit unions process, report, and inspect [certain] transactions” and that the

defendant’s conduct “created a risk that . . . the credit union would foot the bill, and also risked

violating [applicable] regulations”; rejecting argument that defendant “received insufficient

notice relating to certain regulatory violations” that were at the “center” of the Government’s

case), aff’d sub nom. United States v. Lebedev, 932 F.3d 40 (2d Cir. 2019) (rejecting argument

that evidence of regulatory violations was unduly prejudicial due to surprise); see also McElroy,

910 F.2d at 1023-24 (in Section 215 prosecution, admitting evidence that loans to defendant

violated a particular regulation because such evidence “served to explain the basis for [a relevant

bank’s] lending policies and creditworthiness determinations as they related to [defendant’s] loan

application” and because jury was instructed that “a violation of [the regulation] would ‘not

amount to criminal conduct under federal law’”).

       Breaches of fiduciary duties, in particular, are highly relevant to a determination of

whether a bank official acted corruptly. See United States v. Murgio, No. 15 Cr. 769 (AJN),

2017 WL 365496, at *18 (S.D.N.Y. Jan. 20, 2017) (“The Government contends that [defendants]

offered over $150,000 in bribes to [bank official] for the purpose of acquiring control of the

[bank], and that, in exchange for those bribes, [the bank official] helped them effectuate that plan

in violation of his fiduciary duties.”); United States v. Rivieccio, 846 F. Supp. 1079, 1086

(E.D.N.Y. 1994) (defendant “was found guilty of nine counts of bribery of bank officials . . . in

violation of 18 U.S.C. § 215” resulting from his actions “knowingly participat[ing in] and


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induc[ing] . . . breaches” of the “fiduciary duties owed [by the officials] to the depositors of [the

bank]”); see also John K. Villa, BANKING CRIMES: FRAUD, MONEY LAUNDERING AND

EMBEZZLEMENT § 5:23 (“Bribery is a classic breach of an employee’s fiduciary duty to his

employer.”).

       Indeed, the legislative history of Section 215 confirms that breaches of fiduciary duties

are at the center of the statute’s definition of “corruptly.” The original version of the statute did

not require that a defendant act corruptly in order to be found guilty. In the Bank Bribery

Amendments Act of 1985 (Pub. L. 99-370, Aug. 4, 1985), Congress amended the statute to

impose a “corruptly” mens rea requirement. As the House Committee on the Judiciary

explained:

                  The Committee . . . concluded that section 215 must be
                  narrowed. The current law makes federal criminals out of
                  innocent persons who are not engaged in culpable or wrongful
                  conduct. The Committee agrees with the Department of
                  Justice that the purpose of a bank bribery offense is to deter
                  instances of corruption in the bank industry where efforts
                  are made to undermine an employee’s fiduciary duty to his
                  or her employer. The legislation recommended by the
                  Committee has been drafted with this purpose in mind. Thus,
                  section 215, as amended . . . would require for criminal
                  liability that the person giving or receiving a bribe or reward
                  act corruptly. The Committee believes that this approach will
                  enable the Department of Justice to prosecute conduct that
                  involves an effort to undermine an employee’s fiduciary duty
                  to his or her [bank] employer, without stigmatizing as
                  ‘criminal’ conduct that is not culpable or wrongful.

H.R. REP. No. 99-335, 5, 1986 U.S.C.C.A.N. 1782, 1786 (1985) (internal quotation marks and

footnotes omitted) (emphasis added).

       In sum, although the Government is not required to establish a violation of an applicable

duty in order to prove that the defendant acted corruptly, see Ng Lap Seng, 934 F.3d at 143,

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evidence of such a breach is highly relevant to a finding of corrupt intent under Section 215.

                  2.      Expert Testimony on Regulatory Standards, Industry Practices, and
                          Fiduciary Duties

           Expert testimony is admissible when it “will assist the trier of fact to understand the

evidence or to determine a fact in issue.” Fed. R. Evid. 702. “District courts enjoy broad

discretion in admitting expert testimony, and [the Second Circuit] will reverse only for manifest

error.” Rochester Gas & Elec. Corp. v. GPU, Inc., 355 F. App’x 547, 551 (2d Cir. 2009) (citing

Zerega Ave. Realty Corp. v. Hornbeck Offshore Transp., LLC, 571 F.3d 206, 213 (2d Cir.

2009)). Indeed, “[i]t is a well-accepted principle that Rule 702 embodies a liberal standard of

admissibility for expert opinions.” Nimely v. City of New York, 414 F.3d 381, 395 (2d Cir.

2005). 5

           Courts routinely admit expert testimony regarding duties owed by defendants—whether

such duties arise from regulations, industry standards, fiduciary obligations, or otherwise—in

cases where such evidence will assist the jury in evaluating the defendant’s mental state. See,

e.g., United States v. Nouri, 711 F.3d 129, 136, 145 (2d Cir. 2013) (evidence was sufficient to

uphold commercial bribery conviction based in part on “the government’s industry expert” who

testified “about the legal obligations of brokers in dealing with their customers,” “FINRA rules,”

“[i]ndustry rules,” and “industry standards”); United States v. Brooks, No. 06 Cr. 550 (JS), 2010

WL 291769, at *4 (E.D.N.Y. Jan. 11, 2010) (denying defendant’s motion in limine and

authorizing Government’s expert to testify about applicable “SEC, OTC, NASDAQ, and AMEX



5
 For a full description of the law applicable to expert testimony under Federal Rules of Evidence
702, 703, and 401-403, the Government respectfully refers the Court to the Government’s
memorandum of law in support of its motions in limine. (See Dkt. 125 at 10-13).
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rules,” “the fiduciary duties that directors and officers owe a publicly-held corporation,”

applicable “disclosure and reporting obligations,” “SEC regulations concerning related party

disclosures,” and a corporate executive’s “responsibilities” in signing a “representation letter”);

U.S. S.E.C. v. Zwick, No. 03 Civ. 2742 (JGK), 2007 WL 831812, at *20 (S.D.N.Y. Mar. 16,

2007), aff’d, 317 F. App’x 34 (2d Cir. 2008) (jury properly found that defendant acted with

requisite mental state based on expert testimony establishing that markups charged by defendant

“exceed[ed] industry standards for such markups”); United States v. Wiseberg, 727 F. App’x 1,

4–5 (2d Cir.), cert. denied sub nom. Kalaba v. United States, 139 S. Ct. 131 (2018) (evidence

was sufficient to uphold conviction for conspiring to illegally distribute prescription narcotics

based in part on Government’s pharmaceutical expert who testified about the duties and

responsibilities of pharmacists under state law); United States v. Galanis, 758 F. App’x 71, 74

(2d Cir. 2018) (rejecting argument that district court erred in permitting Government to call a law

professor to offer “opinions about the legal standard of materiality, the requirements of

Regulation S, and the meaning of certain fiduciary duties”); see also Gill v. Arab Bank, PLC, 893

F. Supp. 2d 523, 537 (E.D.N.Y. 2012) (denying motion to exclude expert witness who would

testify regarding “the customs and practices—specifically, United States banking regulations—

under which the Bank operated in the United States” because “[t]he Bank’s state of mind is a

central issue in this litigation” and “[t]estimony as to the content of banking industry standards

and practices—and the Bank’s compliance with such standards and practices—will be valuable

to a jury likely to be unfamiliar with such topics.”); cf. Reach Music Pub., Inc. v. Warner

Chappell Music, Inc., 988 F. Supp. 2d 395, 402-03 (S.D.N.Y. 2013) (admitting expert testimony

regarding industry practice as circumstantial evidence of actual knowledge).


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       C.      Discussion

       Belanger’s testimony should be admitted because (i) the key disputed issue at trial is

likely to be whether the defendant acted “corruptly”; (ii) evidence that the defendant violated

various duties he owed the Bank, whether under regulatory standards, industry practice, or

otherwise, is highly relevant to the jury’s evaluation of the defendant’s mens rea; (iii) Belanger’s

testimony will be immensely helpful to the jury in explaining the duties owed by a bank

director/CEO in the defendant’s position; and (iv) Belanger’s testimony will neither invade the

province of the jury nor be unfairly prejudicial because he will not address the facts of this case,

or offer any opinion as to whether the defendant violated his duties, unless the defendant opens

the door, in which case Belanger’s testimony will address the facts of this case only insofar as is

necessary to narrowly rebut specific defense arguments.

       First, the main issue likely to be disputed at trial is whether the defendant acted

“corruptly.” Accordingly, as a general matter, any evidence that “has a[] tendency to make” it

“more or less probable” that the defendant acted corruptly is admissible. Fed. R. Evid. 401, 402.

       Second, evidence that the defendant breached his duties is highly relevant to the question

of whether he acted “corruptly.” See Ng Lap Seng, 934 F.3d at 143, 144 n.33 (noting that

although “the ‘corruptly’ element of bribery does not invariably require . . . a breach of duty,”

such evidence is germane in many cases and that “the element of corruption, breach of trust, or

violation of duty” is the “common thread that runs through common law and statutory

formulations of the crime of bribery” (internal quotation marks omitted)). Such evidence is

routinely admitted in cases involving public-sector bribery. See, e.g., Rooney, 37 F.3d at 852 (“a

fundamental component of a ‘corrupt’ act [by a public official] is a breach of some official duty

owed to the government or the public at large”); Skelos, 707 F. App’x at 740 (in bribery case,
                                               15
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upholding admission of evidence of New York State ethics rules applicable to defendant in his

capacity as a state senator).

       And evidence of a breach-of-duty is equally relevant and admissible in bribery cases

involving bank officials under Section 215. See, e.g., Murgio, 209 F. Supp. 3d at 718-20

(indictment sufficiently alleged that defendant acted “corruptly” in violation of Section

215 because it alleged that he “intentionally took actions that violated the duties he owed in his

capacity as Chairman of the Board of [a financial institution],” and noting that Government

expected also to introduce evidence that defendant violated pertinent regulations); Gross, 2017

WL 4685111, at *10, *33; McElroy, 910 F.2d at 1023-24. Indeed, as explained above, the

legislative history of Section 215 makes clear that breaches of fiduciary duties are at the center of

the statute’s definition of “corruptly.” See H.R. REP. No. 99-335, 1986 U.S.C.C.A.N. at 1786

(“[T]he purpose of a bank bribery offense is to deter instances of corruption in the bank industry

where efforts are made to undermine an employee’s fiduciary duty to his or her employer.”); see

also John K. Villa, BANKING CRIMES: FRAUD, MONEY LAUNDERING AND EMBEZZLEMENT § 5:23

(“Bribery is a classic breach of an employee’s fiduciary duty to his employer.”).

       In sum, evidence that the defendant breached his duties to the Bank in connection with

his approval of the Manafort loans is relevant to the question of whether he acted corruptly, and

is therefore admissible.

       Third, Belanger’s testimony will be helpful to the jury in explaining the duties owed by a

bank director/CEO in the defendant’s position. See Fed. R. Evid. 702(a) (expert testimony is

admissible if, inter alia, the testimony “will help the trier of fact to understand the evidence or to

determine a fact in issue”). The Government expects to offer a wealth of evidence, through the


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testimony of Bank employees, emails, and other documents, concerning the Manafort loans and

the actions the defendant took with respect to them. But while this evidence will prove what the

defendant did, the Government must also prove—and the jury must evaluate—the defendant’s

mental state. As set forth above, in determining whether the defendant acted “corruptly,” a very

important—albeit not dispositive—question is whether he breached his fiduciary duties or other

duties to the Bank imposed by regulatory standard, industry practice, or otherwise. Yet, in the

absence of expert testimony, a lay jury will have no reliable basis for undertaking this critical

analysis. Lay jurors cannot be expected to know, for example, what fiduciary duties are, or what

is required of a bank CEO serving on (or chairing) a bank’s loan committee, or what duties are

owed by a director of a bank holding company. An expert like Belanger, whose unchallenged

credentials include over three decades of bank lending experience, is well-positioned to provide

narrow testimony to educate the jury about these duties. Such testimony is well within the

Court’s “broad discretion” to admit. Rochester Gas & Elec. Corp., 355 F. App’x at 551.

          Indeed, as set forth above, courts in this Circuit routinely admit expert testimony

regarding duties under regulatory standards and industry practice where such testimony will

assist the jury in evaluating the defendant’s mental state. 6 See, e.g., Nouri, 711 F.3d at 136, 145

(finding evidence sufficient to uphold commercial bribery conviction based in part on

Government expert who testified about industry standards, regulatory rules, and “legal

obligations of brokers in dealing with their customers”); Brooks, 2010 WL 291769, at *4

(authorizing Government’s expert to testify about applicable fiduciary duties and industry rules

and regulations); Zwick, 2007 WL 831812, at *20 (upholding jury’s determination of defendant’s


6
    The cases cited by the defendant are easily distinguishable and inapposite, as described below.
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mental state based on expert testimony about “industry standards”); Wiseberg, 727 F. App’x at

4–5 (Government’s expert testified about duties and responsibilities of pharmacists under state

law); Galanis, 758 F. App’x at 74 (Government called law professor to offer opinions about “the

meaning of certain fiduciary duties” and the requirements of a particular regulation); see also

Gill, 893 F. Supp. 2d at 537 (authorizing expert to testify about U.S. banking customs, practices,

and regulations because “[t]he Bank’s state of mind is a central issue in this litigation” and

“[t]estimony as to the content of banking industry standards and practices—and the Bank’s

compliance with such standards and practices—will be valuable to a jury likely to be unfamiliar

with such topics.”). As in these cases, Belanger’s testimony is admissible because it will help

the jury understand the duties owed by the defendant, which, in turn, will enable the jury to draw

important inferences about whether the defendant violated those duties and acted corruptly.

       And fourth, Belanger’s testimony will neither invade the province of the jury nor be

unfairly prejudicial because (unless the defendant opens the door) Belanger will not address the

specific facts of this case and will offer no opinion as to whether the defendant in fact violated

his duties. The defendant’s arguments to the contrary have no merit:

              1.       With respect to Belanger’s opinion that the Manafort loans were not

consistent with regulatory and industry-standard lending practices, the defendant argues that the

opinion suffers from a “logical flaw” insofar as it “invit[es] the jury to speculate that an

imprudently underwritten loan is likely to be a corrupt loan,” and suffers from a “factual flaw”

because “Mr. Calk was not an underwriter and was unaware of the vast majority of factors that

Belanger contends were overlooked, mishandled or misunderstood by the bank’s underwriting

department.” (Def. Mem. 16-17). However, as an initial matter, and as discussed above, the


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Government will not elicit this testimony from Belanger unless the defendant opens the door to it

by suggesting through questioning, evidence, or argument that the Manafort loans were high-

quality, were well-collateralized, or were otherwise consistent with industry standards. Similarly,

if the defendant suggests to the jury that the Manafort loans were “good” for the Bank, then the

Government would offer testimony from Belanger limited to narrowly rebutting this claim. Such

evidence would be relevant and admissible to ensure that the jury is not misled into believing that

the loans were anything other than extremely risky and outside the realm of what a prudent lender

would entertain. See United States v. Bilzerian, 926 F.2d 1285, 1296 (2d Cir. 1991) (“The

weighing of relevance under Rule 403 may be altered when a false impression is created by earlier

testimony. That is, evidence whose probative value might not ordinarily outweigh its prejudicial

effect if offered on direct examination is admiss[i]ble to rebut testimony elicited on cross

examination that created a false impression.”). 7

              2.       With respect to Belanger’s opinion that the defendant’s decision to transfer

a portion of the Manafort loans from the Bank to the Holding Company “undermined the [H]olding

[C]ompany’s ability to act as a source of financial strength and undermined the purpose of setting

a lending limit in the first place” (Belanger Rep. 18-19), the defendant argues—in a brief

footnote—that this opinion is a “non-sequitur” and purportedly conflicts with the OCC’s


7
  In the event that the defendant opens the door to such testimony, the Government would be
amenable to an appropriate limiting instruction making clear to the jury that the defendant is not
charged with violating regulatory standards, industry practice, or Bank policies, and that such
evidence should be considered only insofar as the jury determines that it bears on the defendant’s
mental state. Such a limiting instruction is more than sufficient to avoid any potential unfair
prejudice. See, e.g., McElroy, 910 F.2d at 1023-24 (upholding admission of evidence concerning
regulatory violation in Section 215 prosecution because the evidence was relevant to “lending
policies and creditworthiness determinations” and because court “instruct[ed] the jury that a
violation of [the regulation] would ‘not amount to criminal conduct under federal law’”).
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determination. (Def. Mem. 18 n.14). Once again, the Government does not anticipate eliciting an

opinion about the specific facts of the case unless and until the defendant opens the door to it.

However, with respect to the general principles underlying this opinion, which the Government

does intend to elicit, the defendant’s arguments are baseless. Belanger will explain to the jury that,

based on regulatory standards and industry practice, directors of bank holding companies have a

duty to “conduct their operations in a safe and sound manner and particularly to act as a source of

financial strength to the subsidiary bank,” and that transferring a loan from a subsidiary bank to its

holding company, to avoid breaching a legal lending limit, would “not serve to reduce overall risk

to the financial institution.” (Belanger Rep. 18-19 (citing industry and regulatory guidance)). This

testimony will greatly aid the jury in evaluating whether the defendant acted corruptly, since the

jury would otherwise have no way to contextualize the defendant’s conduct in light of the purpose

of bank holding companies and the duties of their directors. Furthermore, as discussed above,

Belanger will provide this testimony without addressing the specific facts of this case, and without

opining as to whether the defendant violated his duties, unless the defendant opens the door to

such testimony. 8

              3.       With respect to Belanger’s opinion that a bank director/CEO on a bank’s

loan committee owes a fiduciary “duty of care” to undertake an informed review of a loan under



8
  With respect to the defendant’s contention that Belanger’s opinion differs from that of the
OCC, assuming arguendo that this is true (a proposition the Government disputes (see Dkt. 122-
3 at 4 (Paulson opining that this practice “casues a concentration of credit” and “is in tension
with the principle that the holding company should be a source of financial strength for the
bank”))), the defendant is free to raise it on cross-examination of Belanger and OCC witnesses,
and to argue it to the jury. At most, this point bears on the weight to be afforded to Belanger’s
testimony, not its admissibility.

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consideration (see Belanger Rep. 19-23), the defendant argues that “Belanger clearly oversteps his

bounds and exceeds his expertise” because “if the law of fiduciary duty . . . is relevant to this case,

it is clearly for the Court, and not an expert, to instruct the jury on what the law is.” 9 (Def. Mem.

19). This argument is baseless. As an initial matter, as set forth above, evidence relating to

whether the scope of the defendant’s fiduciary duties in connection with his approval of the

Manafort loans is unquestionably relevant because it bears on whether he acted corruptly. (See

Section I.B.1, supra). Further, as also described above, courts in this Circuit routinely admit expert

testimony on fiduciary and other duties when such evidence is relevant to the defendant’s mental

state. (See Section I.B.2, supra). Other Circuits are uniformly in accord. See, e.g., United States

v. Tartaglione, 815 F. App’x 648, 651 (3d Cir. 2020) (upholding admission of expert testimony

about “the fiduciary duties of care and loyalty applicable to directors and officers of . . .

organizations [such as the one run by the defendant]” and noting that “qualified experts may testify

about not only business customs and practices but also applicable legal duties, especially when

those non-governing laws help explain fraudulent intent” (footnote and citations omitted)); United

States v. Keiser, 578 F.3d 897, 904 (8th Cir. 2009) (upholding admission of “expert testimony

about the fiduciary duties of commodities brokers”); United States v. Burreson, 643 F.2d 1344,

1349 (9th Cir. 1981) (upholding admission of expert testimony about “the nature and extent of the

fiduciary duty of an investment management company to a fund and its investors”); United States



9
  The defendant also argues that “it is for the jury, not an expert, to determine whether a
defendant violated the law.” (Def. Mem. 20). As discussed above, the Government will not
elicit testimony from Belanger regarding whether the defendant violated his fiduciary duties
(unless the defendant opens the door to such testimony by offering evidence indicating that he
complied with his fiduciary duties).

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v. Sprouse, 517 F. App’x 199, 202, 206 (4th Cir. 2013) (reinstating fraud conviction of attorney

and noting that evidence at trial included expert testimony concerning “an attorney’s role and

ethical duties in residential real estate transactions”). 10

               4.       With respect to Belanger’s opinions that (i) based on what the defendant

indisputably knew about the Manafort loans at the time they were approved, he should have

undertaken further due diligence (Belanger Rep. 23-26), and (ii) the defendant violated his

“fiduciary duty of loyalty” to the Bank and exhibited a conflict of interest by participating in the

Manafort loan process while seeking Manafort’s assistance obtaining a senior position in the

Trump administration (id. at 27-30), the defendant argues that “these opinions are merely

assertions of facts about which [Belanger] has no personal knowledge based on emails and

documents spoon-fed to him by the government.” (Def. Mem. 20). Though this characterization

is simply wrong, the Court need not reach this issue because, as discussed above, the Government

has determined not to offer this testimony unless the defendant opens the door to it. Belanger will

confine his testimony on these topics to explaining the relevant duties—such as the fiduciary “duty

of loyalty” to engage in conduct that is free from conflicts—without addressing the specific facts

of this case or opining as to whether the defendant violated his duties (unless the defendant opens




10
   The defendant also claims that Belanger’s opinion reflects an “outlandish view of the law.”
(Def. Mem. 20). It is not clear whether the defendant means that it is “outlandish” for Belanger
to opine that a bank director/CEO in the defendant’s position owed fiduciary duties to the bank,
or that it is “outlandish” to opine that the defendant breached his fiduciary duties. To the extent
it is the former, the defendant is free to challenge Belanger’s views on cross-examination or with
an appropriate rebuttal witness; and to the extent it is the latter, as discussed above, Belanger will
not testify that the defendant in fact violated his fiduciary duties (unless the defendant opens the
door).

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the door, such as by arguing that it was reasonable for a prudent banker in his position to believe

the loans to be sound). 11

               5.       Finally, the cases upon which the defendant relies do not support his

position.

                      a.      First, the defendant cites to United States v. Mendlowitz, No. 17 Cr.

248 (VSB), 2019 WL 6977120, at *7 (S.D.N.Y. Dec. 20, 2019), arguing that the court precluded

expert testimony about industry practice on the ground that it was irrelevant and unfairly

prejudicial. (Def. Mem. 13). However, there, the defendant was charged with fraud, and the court

found that expert testimony offered by the defendant about industry standards was not relevant to

the defendant’s mental state, Mendlowitz, 2019 WL 6977120, at *7; that it would have supported

an invalid argument that the defendant’s conduct was “common or general practice in [the]

industry,” id. at *5; and that “the jury did not need expert testimony to understand the” familiar

concepts at issue, id. at *6. Here, by contrast, the defendant is charged with bribery and the

Government must prove he acted “corruptly,” which makes it highly relevant whether the

defendant acted consistently or inconsistently with his duties under regulatory standards and

industry practice. (See Section I.B.1, supra). Further, the subject matter of this case—involving

the duties of a bank director/CEO and bank holding company director in the context of a

commercial real estate loan—is far afield from anything that would be familiar to most lay jurors.


11
  To be clear, even if the defendant opens the door to rebuttal testimony by Belanger, the
Government will not seek to have Belanger establish any facts regarding what the defendant
knew about the Manafort loans or any other subjects. Rather, the Government will establish
these facts through other evidence and will ask Belanger to offer opinions by applying his
expertise and analysis to certain assumed or hypothetical facts. Of course, to the extent the
defendant contends that the Government has failed to establish the predicate for such testimony,
he can raise such an objection at the appropriate time.
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Thus, while the exclusion of the expert in Mendlowitz was appropriate under the unique “facts and

circumstances of th[at] case,” Mendlowitz, 2019 WL 6977120, at *3, this case is far more similar

to the cases cited above, in which expert testimony on regulatory standards, industry practice, and

fiduciary duties has been admitted to aid the jury in evaluating the defendant’s mental state. (See

Sections I.B.1-2, supra). 12

                      b.       The defendant cites to United States v. St. Pierre, 599 F.3d 19, 22-

23 (1st Cir. 2010), claiming that “the court excluded expert testimony ‘as to the standard of care

owed to [the defendant] by her accountants’ to avoid confusing and misleading the jury by ‘shifting

the focus’ to an irrelevant standard.” (Def. Mem. 13 n.10). In fact, the court mainly found that

the defendant’s proposed expert testimony was “flatly irrelevant” because while the defendant,

who was charged with tax evasion, sought to introduce expert testimony “as to the standard of care

owed to [the defendant] by her accountants,” the “[m]ere failure of the accountants to detect her

under-reporting or to give [the defendant] better directions, even if negligent, would not be a

defense” to the charged conduct. St. Pierre, 599 F.3d at 22-23. Here, by contrast, Belanger’s

testimony pertains to the duties owed by the defendant—not some third party on whom he

ostensibly relied—and those duties are unquestionably relevant because they bear on whether the

defendant acted corruptly.



12
   Similarly, in United States v. Petit, No. 19 Cr. 850 (JSR) (Dkt. 71) (cited at Def. Mem. 14-15),
the Government moved to preclude the defendant’s expert from testifying about the application
of GAAP and revenue recognition rules to the facts of the case because such testimony was
simply irrelevant. Id. (Dkt. 71 at 13-16). As in Mendlowitz, the defendant was charged with
fraud, not bribery, and thus, unlike here, the Government did not need to prove that he acted
corruptly. Furthermore, in Petit, the defendant ultimately declined to offer the expert witness
and the court did not rule on the motion. The case therefore has no persuasive or precedential
value.
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                     c.        The defendant cites to several cases in which courts excluded expert

testimony that “threaten[ed] to usurp the role of the court in instructing the jury on the law, or the

role of the jury in applying the law to the facts.” (Def. Mem. 14-15). But those cases are easily

distinguishable. For instance, in Hygh v. Jacobs, 961 F.2d 359, 364 (2d Cir. 1992), the court held

that it was an abuse of discretion to allow an expert to testify, in an excessive use of force trial,

that the defendant’s conduct was not “justified under the circumstances,” not “warranted under the

circumstances,” and “totally improper,” because such testimony effectively “[told] the jury what

result to reach.” Here, by contrast, Belanger will not offer any opinions as to the ultimate issues—

i.e., whether the defendant acted corruptly or solicited a bribe or violated Section 215. Rather, he

will merely educate the jury as to the applicable duties owed by individuals in the defendant’s

position, and will not offer an opinion as to whether the defendant violated his duties (unless the

defendant offers evidence which opens the door to such testimony—and even then, Belanger’s

testimony will not reach the ultimate issues in the case). The other cases cited by the defendant—

Marx & Co. v. Diners’ Club, Inc., 550 F.2d 505, 512 (2d Cir. 1977) and United States v. Bilzerian,

926 F.2d 1285, 1294 (2d. Cir. 1991) (see Def. Mem. 14 & n.11)—are distinguishable for exactly

the same reason. Notably, in Marx & Co., the Circuit held that the expert permissibly testified

about industry standards because it “enable[d] the jury to evaluate the conduct of the parties against

the standards of ordinary practice in the industry,” but held that the expert impermissibly offered

“legal opinions as to the meaning of the contract terms at issue.” 550 F.2d at 509. Here, the




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Government will ensure that Belanger stays on the permissible side of the line—educating the jury

as to applicable duties as a general matter, but not offering any legal conclusions. 13

                                                * * *

       In sum, Belanger’s testimony—in its more limited fashion as described above—should be

admitted because, by educating the jury as to the duties applicable to a bank director/CEO in the

defendant’s position, he will enable the jury to evaluate the extent to which, if at all, the

defendant breached his duties to the Bank in connection with his approval of the Manafort loans,

which is an important consideration in determining whether the defendant acted corruptly.

Belanger’s testimony will neither invade the province of the jury nor be unfairly prejudicial

because he will not testify as to the ultimate issue, will not opine as to whether the defendant

breached his duties, and will not even address the facts of this case, unless the defendant opens




13
   The defendant also relies on an out-of-circuit civil case which is completely inapposite. (See
Def. Mem. 19 (citing Christiansen v. Nat’l Sav. & Trust Co., 683 F.2d 520, 529 (D.C. Cir.
1982))). In Christiansen, a class of federal employees sued certain health insurers and banks
claiming that the defendants’ contractual relationship with the federal government gave rise to
fiduciary duties that the plaintiffs could enforce. 683 F.2d at 521. The D.C. Circuit affirmed the
district court’s grant of summary judgment for the defendants, holding that no such fiduciary
relationship existed as a matter of law. Id. at 533. That holding does not remotely support the
defendant’s position in this case. Here, the defendant indisputably owed fiduciary duties to the
Bank. See, e.g., OCC, The Director’s Book: Role of Directors for National Banks and Federal
Savings Associations (July 2016), at 21 (“Directors’ activities are governed by common law
fiduciary legal principles, which impose two duties—the duty of care and the duty of loyalty,”
and providing a general overview of both duties), available at https://www.occ.gov/publications-
and-resources/publications/banker-education/files/the-directors-book.pdf. The issue here is
whether expert testimony is admissible to educate the jury as to the content, nature, and scope of
the defendant’s duties based on regulatory standards and industry practice. Christiansen does
not begin to address that question, but the cases cited above are directly on point and make clear
that such testimony is admissible. (See Section I.B.1, supra).

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the door, in which case Belanger will offer narrow testimony to rebut specific claims by the

defense.

 II.   BLAKE PAULSON’S NON-EXPERT TESTIMONY SHOULD BE ADMITTED
       BECAUSE IT WILL PROVIDE GENERAL BACKGROUND AND CONTEXT TO
       ENABLE THE JURY TO UNDERSTAND OTHER EVIDENCE

       A.      The Challenged Testimony

       The Government seeks to call Blake Paulson, the Senior Deputy Comptroller and Chief

Operating Officer for the OCC, as a fact witness. 14 As set forth in more detail below, Paulson

will offer testimony, likely at the outset of the trial, regarding the overall supervisory framework,

including general principles of bank supervision and credit risk, and will not offer opinions

specific to the Bank or to the defendant. Paulson’s testimony is highly relevant and will give the

jury the tools necessary to understand other evidence as it comes in, to assess the defendant’s

intent, and to evaluate arguments the defense is likely to make.

       The Government intends for Paulson (i) to testify regarding at least one conversation he

had with the defendant which is directly relevant to the facts of this case, 15 and (ii) to provide the



14
   As noted above, the Government provided advance notice regarding Paulson’s testimony as a
courtesy to the defendant and so as to facilitate motion practice based on it. While the
Government believes that all of the testimony it intends to elicit from Paulson is fact witness
testimony, since the defendant seeks to exclude the testimony on grounds of relevance and
prejudice rather than any argument specific to expert testimony, the Court need not resolve
whether any portions of Paulson’s testimony might constitute expert opinion. (See Def. Mem. 27
n.18 (“[W]hether the government[] characterizes Paulson as a ‘fact’ or ‘expert’ witness, or both,
his proposed testimony is irrelevant, unfairly prejudicial, confusing, and otherwise
inadmissible[.]”)).
15
  In particular, Paulson will offer testimony regarding a false statement that the defendant made
during an annual bank examination. (See Indictment ¶ 29). However, this testimony is not
challenged in the defendant’s motion and the Government therefore does not address it further
here.

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jury with general, high-level background and context regarding the OCC and its work in

regulating the banking industry. In particular, and without offering opinions about the specific

facts of this case, he will testify regarding the OCC’s overall regulatory framework for financial

institutions; the role of bank holding companies; legal lending limits; the practice of banks

selling loan participations to their holding companies; risks arising from lending activities and

the OCC’s risk rating system for loans; the ways in which collateral factors into an analysis of a

loan; the use of credit approval memoranda; bank capitalization requirements; and insider

activities and the OCC’s efforts to make bank officers aware of them. 16

       Accordingly, the topics of testimony that the Government still intends to elicit from

Paulson are:

           •   A description of the OCC framework for supervising banks and the rationale for
               it. (Id. at 3-4).

           •   An explanation of lending risks and the risk rating system the OCC uses to
               evaluate loans. (Id. at 4-6). 17

           •   A description of the OCC’s standards regarding insider activities, including the
               fact that the OCC’s regulations forbid the acceptance of things of value in
               exchange for loans, and a description of the OCC’s efforts to ensure that bank
               officers are aware of the importance of adherence to these standards. (Id. at 6-7).

       Paulson’s testimony thus will provide a framework to assist the jury in understanding the


16
   The Government also gave notice that Paulson might testify regarding an annual bank
examination covering the period ending September 2017 (the “2017 Examination”) (Dkt. 122-3
at 3), and regarding the impermissibility of a bank making loans without being guided by its loan
presentations (Dkt. 122-3 at 6). However, upon further consideration does not intend to offer
this testimony through Paulson. As discussed in Section III.B.2, infra, the Government intends
to have Aguirre, who performed the 2017 Examination, testify about this instead, but only if the
defendant opens the door to such testimony.
17
  The defendant also objects to Paulson testifying about the OCC’s decision to downgrade the
Manafort loans. (Def. Mem. 27). As noted, the Government will not offer such testimony by
Paulson (and indeed, did not refer to such testimony in its notice).
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evidence they will hear regarding the defendant’s and the Bank’s conduct in extending the

Manafort loans. As discussed below, such testimony is relevant to give the jurors the tools

necessary to evaluate the other evidence that will come in throughout the trial, and to assess the

defendant’s corrupt intent. The testimony, particularly as the Government has determined to

narrow it, will not be unfairly prejudicial, and in any event, the Government would consent to an

appropriate limiting instruction making clear to the jury the permissible purposes for which the

testimony is being admitted.

       B.      Applicable Law

       “To be relevant, evidence need only tend to prove the government’s case, and evidence

that adds context and dimension to the government’s proof of the charges can have that

tendency.” United States v. Williams, 585 F.3d 703, 707 (2d Cir. 2009) (internal quotation

marks omitted). Accordingly, “evidence is often admissible to provide background for the

events alleged in the indictment,” id. (internal quotation marks omitted). In the context of highly

regulated industries, testimony regarding the regulatory framework is often admitted. See, e.g.,

In re Mirena IUD Prods. Liab. Litig., 169 F. Supp. 3d 396, 478 (S.D.N.Y. 2016) (admitting

testimony on “the background of the FDA, its functions, and the FDA’s regulatory framework”).

This is true of the banking industry, and it is not uncommon to admit testimony on the regulatory

framework, whether the testimony is expert, see, e.g., Gill, 893 F. Supp. 2d at 537, or lay, see,

e.g., Filho v. Safra Nat’l Bank of N.Y., No. 10 Civ. 7508 (JFK), 2014 WL 12776165, at *6

(S.D.N.Y. Mar. 11, 2014) (noting witness’s overview of regulations under which bank operates).

       C.      Discussion

       Paulson’s testimony about his work at the OCC, including the OCC’s role in overseeing

and enforcing a regulatory framework relevant to the Bank is relevant because it will assist the
                                              29
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jury in understanding the evidence as it comes in. The jury will be asked to assess the

defendant’s intent in pushing the Manafort loans forward, and in so doing it will benefit from an

understanding regarding the regulatory landscape in which the defendant was operating. While

the Government certainly does not intend to belabor the points or explore them in greater detail

than necessary to establish basic concepts, a jury is nonetheless unlikely to be familiar with the

manner in which loans are extended, rated and supervised and the manner in which the banking

industry and its leaders, including the defendant, are similarly subject to governing standards and

ongoing supervision and regulation. Paulson’s testimony will explain these concepts and will

provide needed context and allow the jury to assess the defendant’s actions against this

backdrop.

       In order to make the case intelligible to a jury, the Government is entitled to put on

evidence allowing the jury to understand the rules under which the defendant was operating, and

their rationales, so that the jury can understand, in general terms, what the case is about and why

it matters. 18 Moreover, concepts such as the OCC’s risk rating system, its restrictions on insider

activities, and its requirement of safe and sound operations are not just helpful for the jury to

understand—they were the rules governing and known to the defendant at the time of the

conduct. Accordingly, an understanding of this regulatory background will be of great assistance

to the jury in assessing the Government’s evidence regarding the defendant’s actions and the

Manafort loans themselves (evidence that the jury will hear from witnesses other than Paulson).


18
   The defendant objects to Paulson’s discussion of the “benefits” of the OCC’s regulatory
framework. (Def.’s Mem 29-30). This objection is misconceived. In order to explain the
regulatory framework, Paulson will briefly explain its rationale and importance, so that the jury
understands not only what the rules are, but why they exist and why it is important for banks, and
their directors and officers, to comply with them.
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       One example of the need for regulatory context has already come up in pretrial

proceedings and will likely recur at trial. The defendant has extensively emphasized the

supposed favorable nature of the Manafort loans, and in particular the use of a high interest rate

and supposedly adequate collateral coverage to justify making the loans even given the risk of

Manafort’s nonpayment. (Tr., Apr. 23, 2020, at 6-9). The Court had questions regarding this

argument (id. at 17), and noted that given the relevance of the loan quality to corrupt intent, the

issue would likely be one for trial (id. at 17-18). Just so. While Paulson will not testify about

the Manafort loans himself, Paulson’s testimony will be necessary to allow the jury to make

sense of those defense arguments by, among other things, informing the jury that under the

OCC’s regulatory framework, adequate collateral coverage does not alone justify an otherwise

high-risk loan. See Gill, 893 F. Supp. 2d at 537 (admitting expert testimony regarding United

States banking regulations because “[t]he Bank’s state of mind is a central issue in this

litigation”); see also Gross, 2017 WL 4685111, at *11 (endorsing Government argument that

“‘[T]he fact that [the defendants] ignored those rules and, thus, undermined the safety and

soundness of [their credit union] as board members so that they could enrich themselves is

evidence that you can consider in determining whether or not they acted corruptly.’”).

       Accordingly, Paulson’s testimony on the regulatory background is crucial for allowing

the jury to understand the context of the defendant’s lending decisions and ultimately, based on

the other evidence that will be presented at trial, to assess his intent. This testimony will not be

unfairly prejudicial (particularly if accompanied by an appropriate limiting instruction, which the

Government would of course consent to). As discussed above, evidence of bank regulations is

frequently offered in Section 215 cases. See, e.g., McElroy, 910 F.2d at 1023-24 (upholding


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admission of evidence concerning banking regulation in Section 215 prosecution as relevant to

lending decisions, where court “instruct[ed] the jury that a violation of [the regulation] would

‘not amount to criminal conduct under federal law’”); Gross, 2017 WL 4685111, at *11 (relying

in part on evidence of regulatory violations to uphold Section 215 conviction).

III.   CATHERINE AGUIRRE’S TESTIMONY WILL BE RELEVANT AND
       ADMISSIBLE TO REBUT ANY DEFENSE ARGUMENT THAT THE
       MANAFORT LOANS WERE SOUND, THAT CALK BELIEVED THEM TO BE
       SOUND, OR THAT THEY WERE EXTENDED USING PROPER PROCEDURES

       A.      The Challenged Testimony

       The Government gave notice that it may call Catherine Aguirre, the OCC bank examiner

assigned to the Bank following the issuance of the Manafort loans, who had occasion to review

the loans in the course of her duties. 19 In July 2017, several months after the Manafort loans

were made, Aguirre analyzed the loans and downgraded their credit quality (apart from the

portions secured by cash) to substandard at origination due to serious weaknesses in Manafort’s

income. Several months later, Aguirre conducted an annual bank examination covering the

period ending September 2017 (the “2017 Examination”), which found flaws with the

Management component of the Bank, including process failures at the Bank that contributed to

the issuance of the Manafort loans. The Government does not intend to offer Aguirre’s

testimony unless the defendant opens the door by introducing evidence or argument falsely


19
   The Government submits that Aguirre’s testimony, which relates entirely to examinations she
performed in the ordinary course of her duties and not at the direction of the Government, is fact
testimony, not expert testimony, although she would be describing the conclusions she reached
based on her analysis of the Manafort loans. However, as with Paulson, the Court need not
decide whether any portion of her opinions constitutes expert testimony, since the defense urges
its exclusion on grounds of relevance and prejudice, not based on its status as expert testimony.
(See Def. Mem. 21 n.16 (“Whether the government calls it ‘fact’ or ‘opinion’ does not alter the
analysis set forth below.”)).
                                                32
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suggesting that the Manafort loans were actually sound and advantageous (or that he believed

them to be), or intends to make misleading arguments based on evidence that the Bank followed

its normal procedures in originating, underwriting, and approving the loans.

               1.      Predicate Evidence of the Defendant’s Awareness of Issues With the
                       Loans

       Independent of Aguirre’s testimony, the Government intends to prove that the defendant,

though not aware of every detail regarding the flaws in the Manafort loans, was aware of

significant risk factors suggesting that Manafort’s ability to generate income to service the debt

was highly uncertain at best, and that the loans represented an unusually significant exposure and

risk to the Bank. In addition to circumstantial evidence of the defendant’s awareness of

significant issues with the loans based on his roles as CEO of the Bank and chair of the loan

committee, and his detailed personal involvement in the extension of the loans, 20 there is direct

evidence that the defendant was aware of facts including the following:

       •   defaults to the prior lender on multiple Manafort properties, including proposed Bank
           collateral (see, e.g., Ex. 1 (Calk receiving email with payoff notices showing
           defaults));
       •   the fact that the prior lender was pursuing foreclosure and that the Bank’s financing
           was urgently needed in advance of scheduled foreclosure auctions (see, e.g., Ex. 2
           (Calk receiving December 8 email from Manafort with subject line “Nervousness is
           setting in” and saying “[a]s you know, the properties go to auction on Dec 21”); Ex. 3
           (Calk writing “We are working very hard to help find solutions to help Paul out in his
           hour of need.”));
       •   the fact that Manafort erroneously understated the amount of prior financing on one
           of his properties and was “not able to” cover the difference himself (Ex. 4);
       •   the Bank’s president had previously rejected the first of the Manafort loans (See, e.g.,

20
   The defendant’s involvement with the Manafort loans was surprisingly granular; for example,
at one point he reviewed signed account opening paperwork for a bank account Manafort set up
in connection with the loan and inquired whether it had signatures in all the right places. See Ex.
6 (Calk asking Bank employee “Does he need to sign by the other ‘x’ for withholdings?”).

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           Ex. 5 (Calk receiving email from Bank’s president rejecting the loan and saying it is
           “not an easy loan to make and is a significant exposure to the bank”)). 21
       Beyond these general facts bearing on Manafort’s cash-flow problems, the defendant was

specifically aware of questions regarding Manafort’s reported income, and aware that they had

been addressed only superficially by Bank personnel. In particular, the defendant was copied on

emails showing that the Bank’s president had asked a different underwriter to examine

Manafort’s 2015 tax returns. (Ex. 7). That different underwriter gave an assessment which was

conditionally favorable to the loan, but the defendant was aware that (in addition to the inherent

limitations of an analysis of a single year’s tax returns alone): (i) this favorable assessment was

conditional on assuming (contrary to typical practice) that Manafort did not have to contribute

capital back to his companies, an assumption which would have to be verified by a letter from

his accountant (Ex. 7 at 1 (noting that capital calls worth over half of Manafort’s stated income

would “typically” have to be deducted, but recommending against deducting them “if we can get

a CPA letter” verifying the capital calls were not required)), (ii) this underwriter “did not have

the ability to finish the underwrite today” but offered to complete his analysis next week (id.),

and (iii) the Bank’s president told this underwriter not to do “any more work until we get some

direction from Steve” (Ex. 8 at 1). The defendant never authorized the follow-up work and the

accountant letter—which the defendant had been informed was necessary in order to avoid

deducting millions of dollars from Manafort’s income—was never obtained. 22


21
   The defendant was also aware of other facts that raised questions about Manafort’s
competence in managing a construction project, such as the knowledge that the contractor for a
California project the Bank had considered refinancing had previously declared bankruptcy (Ex.
9 (Calk forwarding email regarding contractor bankruptcy to loan officer)).
22
  Moreover, the defendant was aware of news reporting on Manafort’s controversial overseas
consulting, and that Manafort had been fired as the Trump campaign’s chairman following these

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                 2.     Aguirre’s Testimony

          As set forth in more detail in its notice (Dkt. 122-2), the Government expects Aguirre—if

necessary to rebut defense evidence or arguments—to testify based on her evaluation of the

Manafort loans and their downgrade on July 19, 2017 and her subsequent evaluation of the

Bank’s management in connection with the 2017 Examination. The specific testimony the

defendant challenges is:

             •   The Manafort loans were of substandard quality as of their origination, for
                 reasons principally involving the Bank’s flawed and materially inaccurate
                 analysis of Manafort’s financial situation, which among other things failed to
                 account for Manafort’s deteriorating and (in 2014 and 2015) outright negative
                 cash flow. (Dkt. 122-2 at 2-3).
             •   Although Aguirre initially assessed that the Manafort loans were secured by
                 adequate collateral, this conclusion may have changed if she was aware of two
                 facts (one known to Bank personnel at the time of the loan, one shortly after)
                 casting doubt on the value of one of the pieces of collateral, a townhouse on
                 Union Street in Brooklyn under renovation (the “Union Street Property”). (Id. at
                 3).
             •   Making loan decisions without being guided by the content of loan presentations
                 is an unsafe and unsound practice. (Id. at 4). 23
             •   The Bank’s board of directors and management team “did not provide a credible
                 challenge to Calk,” which was a factor in the OCC’s decision to downgrade the
                 Bank’s management component rating in the 2017 Examination. (Id. at 3). 24


news reports. (See, e.g., Ex. 10 (Calk receiving campaign talking points responding to news
article suggesting Manafort wrongdoing in connection with foreign consulting).
23
     A credit approval memorandum, such as used by the Bank, is a form of loan presentation.
24
  The defendant also challenges Aguirre’s opinions that certain information should have been
included in the credit approval memorandum (Def. Mem. 21 (citing Dkt. 122-2 at 3-4)), but the
Government is not planning on offering this opinion. Similarly, the defendant challenges
Aguirre’s testimony that the Bank charged off the value of the Manafort loans in late 2017 (Def.
Mem. 22 (citing Dkt. 122-2 at 4), id. at 26-27), but the Government does not plan to introduce
evidence of this charge-off unless the defendant opens the door to it. The defendant also
challenges Aguirre’s opinions concerning insider abuse (Def. Mem. 22 (citing Dkt. 122-2 at 4)),
but the Government presently intends to offer testimony on those matters only through Paulson,
not through Aguirre. Should that expectation change, the Government will nevertheless not offer

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       As noted above, the Government does not intend to offer these opinions unless the

defendant opens the door by presenting evidence or argument suggesting that the Manafort loans

were actually sound and advantageous (or that the defendant believed them to be) or that the

Bank’s following its procedures in extending the loans constitutes evidence of their soundness.

       B.      Applicable Law

       Evidence of a defendant’s breach of duty, including evidence regarding banking

regulations, is highly relevant to assessing corrupt intent in bribery cases, including bank bribery

cases under Section 215. (See Section I.B.1, supra). Similarly, evidence of risky banking

practices can be used to prove circumstantially a defendant’s corrupt intent for a Section 215

charge. See Gross, 2017 WL 4685111, at *11 (relying on Government evidence of regulatory

violations and unsafe volumes of transactions in order to prove corrupt intent).

       More broadly, subsequent loss to a financial instrument can be used to show its riskiness

for the purpose of proving the corrupt intent of a defendant who promoted it. In United States v.

Seabrook, 814 F. App’x 661 (2d Cir. 2020) (summary order), the defendant, a union leader, was

charged with accepting a bribe in exchange for steering his union’s funds into a risky investment,

which subsequently suffered a loss. Id. at 662. The Second Circuit affirmed the admission of

this evidence (i.e., the investment loss) to show the defendant’s corrupt intent, noting the

evidence that the defendant was aware of risks in the investment and holding that the subsequent

default “tended to show that [the defendant] intended to subject the organization to a risky

investment in order to enrich himself.” Id.




duplicative testimony.
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       C.      Discussion
               1.      Aguirre’s Testimony Regarding the Flaws in the Manafort Loans Will
                       Be Relevant if the Defendant Argues that the Loans Were Sound or that
                       He Believed Them to Be Sound

       Should the defendant open the door by suggesting that the Manafort loans were actually

sound or that he believed them to be, Aguirre’s testimony will be relevant to rebut this

suggestion and prevent the defendant from misleading the jury. 25

       As the Court is aware, the quality of the loans is not an element of the Government’s

case, although it may bear on the defendant’s intent. (See Dkt. 92 at 10-11; Tr., Apr. 23, 2020, at

17-19). The Government accordingly intends to focus its evidence on proving that the defendant

corruptly solicited a quid pro quo, but will call Bank witnesses and will introduce emails and

other documents to tell the full story of the Bank’s evaluation and ultimate approval of the

Manafort loans, including the various points at which Bank employees discovered negative

information or raised concerns about the loans. (Cf. Def. Mem. 3-4 (noting relevance of such

evidence)). However, if the defendant attempts to suggest that the Manafort loans were actually

sound or that he believed them to be, 26 the Government will respond with Aguirre’s assessment

in her official capacity as an OCC examiner assigned to review the loans (made several months

after the loans were originated and in the course of her ordinary duties) that they were of

substandard quality at the time they were made.

       The Government does not intend to prove that the defendant directly performed the


25
   If the defendant does not suggest, implicitly or explicitly, that the fact that the Manafort loans
were actually sound or he believed them to be, then the Government would not call Aguirre for
this purpose.
26
  The defendant has made such arguments in pretrial proceedings. (See Dkt. 37 at 21-22; Dkt.
48 at 3-6; Tr., Apr. 23, 2020, at 6-9).
                                                  37
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detailed financial analysis that Aguirre did, but will introduce evidence that the defendant was

aware of significant red flags pointing to the same flaw Aguirre identified: Manafort’s lack of

income. (See Section III.A.1, supra). Given the defendant’s awareness of risks as to Manafort’s

lack of income, Aguirre’s analysis that Manafort actually lacked demonstrated income is relevant

to prove the defendant’s corrupt exposure of the Bank to risk. In Seabrook, where the defendant

caused his organization to make an investment notwithstanding awareness of the “risk of losing

the investment,” the Second Circuit held that the fact that “this concern materialized” in the form

of subsequent loss of the investment “tended to show that [the defendant] intended to subject the

organization to a risky investment in order to enrich himself,” obviously without any need to

prove that the defendant could see into the future and predict with certainty that the default

would occur. Seabrook, 814 F. App’x at 662. Similarly here, where the defendant was aware of

factors at least raising risks that Manafort had insufficient income, the fact that “this concern

materialized,” id., in the form of analysis showing that Manafort had insufficient income,

“tend[s] to show that [Calk] intended to subject the organization to a risky investment in order

to” obtain a personal benefit for himself, id.; see also, e.g., Gross, 2017 WL 4685111, at *10-11

(in Section 215 case, noting relevance of risky banking practices and regulatory violation to

prove that defendant was “acting under the influence of bribes, rather than in the best interest of

the credit union”).

       The defendant’s first argument, that the analysis is irrelevant because it was made several

months after the loan was extended, is easily dispensed with. While Aguirre’s analysis was done

after the loan was originated, it was not “[h]indsight” (Def. Mem. 23)—to the contrary, it was

based entirely on information known to the Bank at the time of origination, and thus the crux of


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her testimony will be that the loans were substandard at origination. (Dkt. 122-2 at 2).

       The defendant’s second claim, that the analysis is not relevant because he may not have

known all the bases for the OCC’s downgrade, also misses the mark. As noted above, the

Government will introduce evidence that the defendant was aware of significant risks as to

Manafort’s lack of income and that Aguirre identified Manafort’s lack of income as the key flaw

in the loans. Her testimony would be relevant to correct a misimpression with the jury that,

based on what the Government will prove Calk was aware of at the time of origination, the loans

were sound. They were not. Given this, and that the Government does not intend to introduce

Aguirre’s testimony unless the defendant opens the door by arguing that the loans were sound or

that he believed them to be, Aguirre’s analysis is relevant to prevent the jury from being misled.

The fact that Calk may not have been aware of every piece of evidence that Aguirre analyzed

does not make her testimony irrelevant or unfairly prejudicial, because Calk was aware of the

risk of the key infirmity Aguirre identified: Manafort’s lack of income. Yet the defendant

proceeded with the unusually risky loans, which were so large that they nearly caused the Bank

to breach its legal lending limit. Here, as in Seabrook, where the defendant is aware of a serious

risk bearing on his corrupt intent to “subject the organization to a risky investment” for personal

benefit, evidence that the risks “materialized” is relevant to show that intent. Seabrook, 814 F.

App’x at 662.

       In light of this evidence of the defendant’s knowledge of risks regarding the flaws

identified by Aguirre, her testimony that from her regulatory perspective the loans were

substandard and should not have been approved at the time of origination is squarely relevant to

the defendant’s intent in approving the loans. This case is thus nothing like United States v.


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Martoma, 993 F. Supp. 2d 452 (S.D.N.Y. 2014), cited by the defendant, in which the court

concluded that an expert’s later analysis of the price of a stock at the time of alleged insider

trading was not relevant to the defendant’s state of mind. Id. at 456-57. In that case, there was

no evidence that the defendant was aware of any similar analysis of the stocks at the time, and

indeed the Court noted that evidence tying the analysis to the defendant’s state of mind would

render the analysis relevant. See id. at 456 (“Evidence that [the defendant] conducted an analysis

in July 2008 similar to what [the expert] has done in 2014, or that [the defendant] was reading

analyses in 2008 similar to what [the expert] has done in 2014, would be probative of [the

defendant’s] state of mind.”). Here, where there is such evidence—that the defendant was aware

of significant red flags regarding Manafort’s income, the principal flaw that Aguirre identified—

the flaws are relevant to showing the defendant’s corrupt intent. See Seabrook, 814 F. App’x at

662; Gross, 2017 WL 4685111, at *10. Moreover, Aguirre’s analysis was performed several

months—not five and a half years—after the loans were extended, and in the course of her

ordinary duties, not as an expert retained for the purpose of the litigation. And finally, unlike in

Martoma, here the Government will only offer this testimony if the defendant opens the door to

this very issue. As a result, Martoma is simply not on all fours with the facts of this case.

       Accordingly, although the Government does not intend to present Aguirre’s testimony

unless the defense opens the door, her testimony regarding the flaws in the Manafort loans will

be highly relevant to rebut any suggestion that the Manafort loans were actually sound or that he

believed them to be.

               2.      Aguirre’s Description of Flaws in the Bank’s Processes Will Be
                       Relevant if the Defendant Relies on Those Processes to Argue the Loans
                       Were Sound

       The Government does not intend to call Aguirre to testify regarding flaws in the Bank’s
                                             40
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processes unless the defendant opens the door by arguing that the fact that the Manafort loans

passed through the Bank’s processes shows that the loans were sound. If the defendant makes

such an argument, it will be appropriate for Aguirre to explain that the Bank’s processes were

significantly flawed and did not provide a check against unsound loans (a fact the defendant took

advantage of to corruptly extend the Manafort loans) to correct any misimpression with respect

to the soundness of the Bank’s processes as they relate to the defendant’s intent. 27

       If needed to respond to any argument by the defense that its processes provided evidence

of the soundness of the Manafort loans, Aguirre will testify that one key aspect of the Bank’s

processes—the use of credit approval memoranda documenting the loan decision—was

fundamentally flawed in a manner directly bearing on the defendant’s intent. 28 The credit

approval memoranda, despite containing the Bank’s official rationale for extending loans such as

the Manafort loans, were not actually reviewed by the credit committee. (See, e.g., Def. Mem.

2). As a result, an important check on abusive or corrupt loans was not actually being followed,

creating a situation in which the defendant had the opportunity to approve the loan for corrupt

reasons. 29 Absent Aguirre explaining that these practices deviated from accepted banking


27
  If the defendant does not suggest, implicitly or explicitly, that the fact that the Manafort loans
went through the Bank’s processes is a reason to conclude the defendant lacked corrupt intent,
then the Government would not call Aguirre for this purpose.
28
  As noted in Section II.A.1, supra, Paulson could also offer testimony regarding these matters
but the Government presently expects to offer it through Aguirre instead. Even if that
expectation changes, the Government does not propose to offer duplicative testimony.
29
   Of course, given that these flaws in the Bank’s processes affected other, non-corruptly
motivated loans as well, the Government does not propose to introduce this evidence unless the
defendant opens the door. The Government will present evidence that the defendant gave highly
unusual special treatment to Manafort, both in terms of his level of personal involvement and in
terms of the enthusiasm for pushing the loans forward despite their risks. These actions, the
Government’s evidence will show, were not at all common. Evidence of the flaws in the Bank’s

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practices, the jury could easily be misled into believing that the Bank’s processes provided an

adequate safeguard against corruptly motivated loans. See Gross, 2017 WL 4685111, at *10 (in

Section 215 case, relying on trial evidence that credit union employee supervised by defendant

“made no effort to comply with” various regulations and that credit union engaged in unsafe

volumes of transactions).

        Similarly, the fact that the OCC concluded that issues regarding the approval of the

Manafort loans contributed to the OCC’s decision to downgrade the Bank’s management rating

would be relevant to rebut the suggestion that the loans were of sound quality or that the Bank’s

processes safeguarded against corrupt loans. The defendant tries to escape this conclusion by

noting that the issues with the Manafort loans were only a relatively small portion of the reason

for the downgrade, but the fact that they contributed at all is still highly significant to rebut the

suggestion that the Bank’s ordinary loan approval practices provided a safeguard against corrupt

lending. Similarly, the defendant emphasizes that the OCC findings did not involve corruption

(Def. Mem. 23), but this misses the point for two reasons. First, the OCC did not examine the

internal Bank communications that would have shown corruption. But second, and more

fundamentally, testimony regarding the OCC’s downgrade is not intended to prove directly that

the defendant acted corruptly, 30 but instead to rebut any defense suggestion that the Bank’s loan

approval processes provided a sufficient safeguard to assure that the Manafort loans were of high


processes, by contrast will be relevant only if the defendant seeks to attempt to counter the
Government’s evidence by giving the false impression to the jury that the Bank’s processes
provided a safeguard against poor loans and gave reason to believe the Manafort loans were
sound.
30
  In addition to the fact, as discussed in footnote 29, above, that the process failures were not
unique to the Manafort loans, an opinion that Calk had corrupt intent would of course be
inadmissible under Federal Rule of Evidence 704(b) in any event.
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quality.

       The Government of course does not intend to suggest that the defendant could be

convicted for his bank following banking practices disapproved of or forbidden by the OCC, and

would expect any testimony by Aguirre to be accompanied by an appropriate limiting

instruction. See, e.g., McElroy, 910 F.2d at 1023-24. However, to the extent that the Bank’s

approval of the loan through ordinary processes is a point of emphasis by the defendant, the fact

that these processes involved significant gaps that failed to provide a safeguard against corruptly

motivated loans is highly relevant to rebut this argument and correct any misimpression on

behalf of the jury about the soundness of the bank’s processes. The defendant’s argument that

this evidence would be unduly prejudicial is unpersuasive. The defendant cites United States v.

Riddle, 103 F.3d 423 (5th Cir. 1997), for the proposition that evidence of regulatory violations

should be excluded here, but that case involved evidence nothing like the proposed testimony

here. In that case, the government sought to offer evidence of reports of an entity’s “general

health and its failure to comply with regulations from its inception to its demise,” including

numerous unrelated violations well after the time period of the offense. Id. at 431. Here, the

evidence is not a wide-ranging attempt to parade unrelated violations before the jury, 31 but

instead narrowly tailored to expose flaws in the process for the approval of the very loans that

were the subject of the corrupt quid pro quo, and only—if at all—to respond to the defendant’s

reliance on those processes. 32


31
  The OCC’s examinations of the Bank have various unrelated findings that the Government
does not propose to present to the jury.
32
  The defendant also cites to Mendlowitz, which as explained in Section I.C, supra, involved a
very different context not involving allegations of corrupt intent. The defendant’s citation to

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IV.    JEFFREY MCCUTCHEON’S EXPERT TESTIMONY SHOULD BE ADMITTED
       FOR THE NARROW PURPOSE OF ESTABLISHING THAT THE “THING OF
       VALUE” WAS WORTH MORE THAN $1,000

       As set forth in its July 1, 2020 notice, the Government proposes to call Jeffrey

McCutcheon as an expert to provide testimony regarding the potential monetary value of (i) an

appointment to the Trump presidential campaign’s Economic Advisory Council, and (ii) an

executive branch appointment to Secretary of the Army or Undersecretary of the Army. (See

Dkt. 122 Ex. D and Ex. B attached thereto (“McCutcheon Rep.”)). 33 Specifically McCutcheon

opines that each appointment has an intangible value in excess of $1,000, due to their potential to

grow the appointee’s human capital through, among other things, enhanced credentials, increased

public visibility and recognition, and an expanded personal and professional network. This

testimony is directly relevant to a key element of the crime, which the Government bears the

burden of proving beyond a reasonable doubt: that the “thing of value” solicited by the defendant

exceeded $1,000.

       McCutcheon’s opinions are based on his more than thirty-seven years of experience in

the human resources and compensation fields, including more than fifteen years of experience

serving as an advisor to boards of directors and investor groups regarding issues relating to



United States v. Bilotto, No. 04 Cr. 343, 2005 WL 5978665 (W.D. Tex. Sept. 27, 2005), is also
entirely inapposite, as the enforceability of contracts under Texas law was simply irrelevant to
the fraud statute. Here, by contrast, the testimony will only be offered if relevant to rebut a
suggestion that the Bank’s processes provided evidence of the quality of the very loans at issue
here.
33
  McCutcheon’s report addresses the potential value of these appointments to the defendant both
directly, through their effect on his human capital, and indirectly, through the defendant’s
ownership interest in the Bank and the Holding Company. Upon further consideration, the
Government has determined to offer McCutcheon’s testimony regarding only the appointments’
potential value to the defendant directly.
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executive and board member compensation, and his familiarity with the ways in which a

candidate’s skills and experience affect his employment opportunities and market value. The

defendant does not quibble with McCutcheon’s qualifications. Rather, he seeks to preclude

McCutcheon’s testimony on the grounds that McCutcheon has offered “no data and no

computations.” (Dkt. 123 at 32). The defendant’s criticism is misplaced and does not offer

compelling grounds for precluding McCutcheon’s expert testimony.

       A.      Applicable Law

       In order to prove a felony violation of Section 215, the Government must prove that the

“the value of the thing given, offered, promised, solicited, demanded, accepted, or agreed to be

accepted” exceeds $1000. 18 U.S.C. § 215(a). Courts “look to traditional valuation methods” to

determine whether the monetary thresholds in similar statutes have been met. United States v.

Marmolejo, 89 F.3d 1185, 1194 (5th Cir. 1996) (considering $5000 threshold for valuing bribe

under 18 U.S.C. § 666). Such methods may involve evaluating the amount that is exchanged for

the thing of value, evaluating the amount of income that could be generated by the thing of

value, or evidence of its actual value to the defendant. See United States v. Mongelli, 794 F.

Supp. 529, 531 (S.D.N.Y. 1992) (listing these three approaches to valuing licenses for which

bribes were offered in Section 666 case). Courts can estimate such values for intangibles “in the

same way that an appraiser would value an asset—by looking at how much a person in the

market would be willing to pay for them.” Marmolejo, 89 F.3d at 1194.

       B.      Discussion

       The defendant argues that McCutcheon’s analyses of the value of an appointment to the

Economic Advisory Council and of an appointment to Secretary or Undersecretary of the Army

is inadmissible because they do not “fit” the facts of the case and are “based on insufficient facts
                                                 45
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and data.” (Dkt. 123 at 32). This argument though, requires the defendant to engage in semantic

contortions and ignore the nature of the expertise and opinion that McCutcheon offers.

        First, the defendant asserts that McCutcheon’s analysis is inadmissible because it values

the appointment to the positions of Secretary and/or Undersecretary of the Army, rather than

Manafort’s assistance in obtaining such a position. This parsing goes to the weight of

McCutcheon’s opinion, not its admissibility. The Indictment and the expected trial evidence will

make clear that the defendant’s ultimate goal—and what he sought from Manafort—was the

position itself. And the evidence shows that the defendant clearly believed Manafort was able to

exercise substantial influence in obtaining the position itself, even if it was not a guarantee.

Manafort certainly informed the defendant of his influence, 34 and the defendant himself plainly

believed it, remarking to the loan officer—in the course of directing the loan officer to close the

second loan, and while the defendant’s candidacy was pending with Manafort’s support—that

Manafort was “influential” with “other people and a few other situations at hand.” (Indictment

¶ 24(i)). But all of this plainly goes to the weight to be placed on McCutcheon’s analysis, not its

admissibility. Even if the defendant wishes the jury to apply a significant discount to the value

of the position to reflect the uncertainty of obtaining the position, the first step in that analysis is

valuing the position itself, which is exactly what McCutcheon does. 35 Park W. Radiology v.

CareCore Nat. LLC, 675 F. Supp. 2d 314, 329 (S.D.N.Y. 2009) (“To the extent Defendants



34
  Indeed, on or about November 14, 2016, two days before the first Manafort loan closed, the
defendant emailed Manafort to ask if he was “aiding in the transition in any type of formal
capacity.” Manafort informed the defendant that he was “involved directly,” to which the
defendant replied “[a]wesome.” (Indictment ¶ 23(f)).
35
  In other words, in order for the jury to evaluate the value of Manafort’s assistance in obtaining
the position, the jury must understand the value of the position itself.
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believe [the expert’s] conclusions are not applicable to . . . the issues raised in this case, they

will be able to raise these arguments on cross-examination.”).

       The defendant is no more persuasive when it comes to the merits of McCutcheon’s

opinion, because he simply fails to acknowledge the nature of the expert opinion that

McCutcheon offers. He seeks to require that McCutcheon’s opinion be the result of proven

mathematical calculation. This, however, is not the law. Under Rule 702, permissible topics for

expert testimony go well beyond those that require scientific precision, including those based on

an expert’s own specialized experience and observation. See Park W. Radiology, 675 F. Supp.

2d at 329 (permitting expert testimony when the expert’s “conclusions are based on sufficient

data and experience gleaned from working as a consultant to [outpatient diagnostic imaging

facilities] on financial matters for many years”). Indeed, “[u]nder Rule 702, federal courts

routinely permit witnesses with ‘technical or other specialized knowledge’ to state opinions on

matters where the data falls short of proving the witness's conclusion. For example, an art

appraiser testifying about a painting’s authenticity might state an opinion based in part on

scientific analysis, but the ultimate conclusion would come from the witness’s specialized

knowledge, training and experience. In re Ephedra Prod. Liab. Litig., 393 F. Supp. 2d 181, 188

(2005). Here, McCutcheon’s opinions regarding the value of an appointment to the Economic

Advisory Council or to Secretary or Undersecretary of the Army are based on decades of

experience advising boards of directors regarding executive and board member selection and

compensation (McCutcheon Rep. at 1), and factors that, in his experience, make a candidate

more valuable to a hiring body, including “social status and affiliation” (id. at 8).




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       Accordingly, the defendant’s objection to McCutcheon’s valuation of his campaign

advisory position misses the mark. It is surely permissible for a longtime executive

compensation expert to make qualitative judgments about the value of prestigious positions

based on his experience in evaluating candidates and formulating compensation packages. This

is doubly true when the opinion offered is as straightforward as opinining that the value of

appointment to an advisory committee for the presidential campaign of a major party nominee—

where that committee is staffed with highly prominent businesspeople including the future

Secretary of the Treasury and Secretary of Commerce, among others—exceeds the relatively low

threshold of $1,000.

       Similarly, McCutcheon’s valuation of potential appointment to the position of Secretary

or Under Secretary of the Army is well within the realm of his expertise. He is surely qualified

to assess, based on his decades of industry experience, that senior Defense Department leaders

have “responsibilities and impacts comparable to CEO and COO roles running the largest

corporations in the United States, providing the appointees with unique experience and allowing

exceptional career flexibility and opportunity upon conclusion of the service.” (McCutcheon

Rep. 3). It is similarly well within McCutcheon’s expertise to compare the compensation of such

comparable CEO and COO positions to the defendant’s actual current position and conclude that

the experience given by the Defense Department roles would significantly enhance the

defendant’s earning capability. 36 Similarly, his decades of evaluating board and executive

candidates surely make McCutcheon qualified to assess that senior Defense Department


36
  In this way the defendant is simply wrong when he claims that McCutcheon provides “no
indication” as to whether post-governmental positions would be more lucrative than the
defendant’s current position. (Def. Mem. 35).
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positions would make the defendant a candidate for lucrative part-time board of director

positions that could further supplement whatever compensation the defendant received from his

subsequent employment, even if he returned to his bank. (McCutcheon Rep. 4).

       The defendant’s challenge to the more quantitative portion of McCutcheon’s analysis

also fails. (Def. Mem. 34-35). McCutcheon’s method of analysis is a common one—

comparison to other individuals who have held the positions that the defendant sought. Cf. Sere

v. McNally Int'l Corp., No. 00 Civ. 8370 (KNF), 2004 WL 187126, at *2 (S.D.N.Y. Jan. 29,

2004) (expert witness testified that she determined the fair market value of a particular item by

searching “auction house catalogues and the Internet for comparable works of art”). Indeed, with

respect to the Secretary and Undersecretary of the Army positions, the defendant does not take

issue with the method of comparison. Nor does he assert that that dataset that McCutcheon used

was weighted in any way so as to produce a skewed result. Rather, he argues (a) that the

individuals analyzed by McCutcheon are not sufficiently similarly situated to himself and (b)

that the number of individuals in the pool that was analyzed was too small to produce a

meaningful result.

       The defendant’s attempt to find fault with McCutcheon’s comparisons are misconceived.

The comparisons are illustrative and supportive of McCutcheon’s overall conclusion, based on

his decades of experience, that such positions can significantly enhance the post-employment

earnings of individuals similarly situated to the defendant. The defendant’s criticism of

McCutcheon’s conclusions are not grounds to preclude his testimony, but potential avenues for

cross examination. See Daubert v. Merrell Dow Pharms., 509 U.S. 579, 596 (1993) (“Vigorous

cross-examination, presentation of contrary evidence, and careful instruction on the burden of


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proof are the traditional and appropriate means of attacking shaky but admissible evidence.”);

Beastie Boys v. Monster Energy Co., 983 F. Supp. 2d 369, 377 (S.D.N.Y. 2014) (the defendant

“also argues that three endorsement deals . . . which form a basis for [the expert’s] conclusion . .

. are not comparable to the implied endorsement at issue here. But those differences, which the

parties concisely summarize in their briefs, are simple enough to present and understand that

they can be readily addressed during cross-examination and considered by the jury in evaluating

the credibility of [the expert’s] testimony”); Park W. Radiology, 675 F. Supp. 2d at 326 (“To the

extent the Defendants have any questions about the weight or the sufficiency of the evidence

upon which [the expert] relied, or the conclusions generated therefrom, those questions can be

asked on cross-examination.”); Discover Fin. Servs. v. Visa U.S.A., Inc., 582 F. Supp. 2d 501,

507 (S.D.N.Y. 2008) (“Whether [the expert] drew proper inferences and conclusions from these

sources is certainly a question that is open to dispute. Defendants are fully able, however, to

contest [the expert’s] statements through the testimony of their own expert witnesses and through

cross-examination of [the expert].”).

       Ultimately it is the defendant, not McCutcheon, who is making an apples-to-oranges

comparison in this motion. Hairsplitting about the sample size and variance would make more

sense if McCutcheon were a statistician with no relevant area expertise simply evaluating data

points in a vacuum, but such criticism fundamentally does not fit McCutcheon’s analysis, which

is based on his unchallenged subject matter expertise and decades of experience and is

admissible to assist the jury in valuing the benefits the defendant corruptly sought from

Manafort.




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                                      CONCLUSION

      For the reasons set forth above, the defendant’s motions in limine should be denied.

Dated: New York, New York
       November 13, 2020
                                           Respectfully submitted,

                                           AUDREY STRAUSS
                                           Acting United States Attorney

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